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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

                              Case No.

 STRIKE 3 HOLDINGS, LLC, a limited liability
 company,

        Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 72.239.190.243, an individual,

        Defendant.

                                                  /

                   COMPLAINT-ACTION FOR DAMAGES FOR
               PROPERTY RIGHTS INFRINGEMENT AND DEMAND
                FOR JURY TRIAL – INJUNCTIVE RELIEF SOUGHT

        Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”), brings this complaint

 against John Doe subscriber assigned IP address 72.239.190.243, and alleges as follows:

                                       Introduction

        1.      This is a case about the ongoing and wholesale copyright infringement of

 Plaintiff’s motion pictures by Defendant, currently known only by an IP address.

        2.      Plaintiff is the owner of award winning, critically acclaimed adult motion

 pictures.

        3.      Strike 3’s motion pictures are distributed through the Blacked, Tushy,

 Vixen, and Blacked Raw adult websites and DVDs. With more than 20 million unique

 visitors to its websites each month, the brands are famous for redefining adult content,



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 creating high-end, artistic, and performer-inspiring motion pictures produced with a

 Hollywood style budget and quality.

           4.       Defendant is, in a word, stealing these works on a grand scale. Using the

 BitTorrent protocol, Defendant is committing rampant and wholesale copyright

 infringement by downloading Strike 3’s motion pictures as well as distributing them to

 others. Defendant did not infringe just one or two of Strike 3’s motion pictures, but has

 been recorded infringing 245 movies over an extended period of time.

           5.       Although Defendant attempted to hide this theft by infringing Plaintiff’s

 content        anonymously,   Defendant’s   Internet   Service   Provider   (“ISP”),   Spectrum

 (Spectrum), can identify Defendant through his or her IP address 72.239.190.243.

           6.       This is a civil action seeking damages under the United States Copyright

 Act of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

                                     Jurisdiction and Venue

           7.       This Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338 (jurisdiction over copyright

 actions).

           8.       This Court has personal jurisdiction over Defendant because Defendant

 used an Internet Protocol address (“IP address”) traced to a physical address located

 within this District to commit copyright infringement.             Therefore: (i) Defendant

 committed the tortious conduct alleged in this Complaint in this State; and, (ii) Defendant

 resides in this State and/or; (iii) Defendant has engaged in substantial – and not isolated –

 business activity in this State.



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         9.      Plaintiff used IP address geolocation technology by Maxmind Inc.

 (“Maxmind”), an industry-leading provider of IP address intelligence and online fraud

 detection tools, to determine that Defendant’s IP address traced to a physical address in

 this District. Over 5,000 companies, along with United States federal and state law

 enforcement, use Maxmind’s GeoIP data to locate Internet visitors, perform analytics,

 enforce digital rights, and efficiently route Internet traffic.

         10.     Pursuant to 28 U.S.C. § 1391(b) and (c), venue is proper in this district

 because: (i) a substantial part of the events or omissions giving rise to the claims occurred

 in this District; and, (ii) the Defendant resides (and therefore can be found) in this District

 and resides in this State. Additionally, venue is proper in this District pursuant 28 U.S.C.

 § 1400(a) (venue for copyright cases) because Defendant or Defendant’s agent resides or

 may be found in this District.

                                             Parties

         11.     Strike 3 is a Delaware limited liability company located at 2140 S. Dupont

 Hwy, Camden, DE.

         12.     Plaintiff currently can only identify Defendant by his or her IP address.

 Defendant’s IP address is 72.239.190.243.           Defendant’s name and address can be

 provided by Defendant’s Internet Service Provider.

                                     Factual Background

                            Plaintiff’s Award-Winning Copyrights

         13.     Strike 3’s subscription based websites proudly boast a paid subscriber base

 that is one of the highest of any adult-content sites in the world. Strike 3 also licenses its



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 motion pictures to popular broadcasters and Strike 3’s motion pictures are the number

 one selling adult DVDs in the United States.

        14.     Strike 3’s motion pictures and websites have won numerous awards, such

 as “best cinematography,” “best new studio,” and “adult site of the year.” One of Strike

 3’s owners, three-time director of the year Greg Lansky, has been dubbed the adult film

 industry’s “answer to Steven Spielberg.”

        15.     Strike 3’s motion pictures have had positive global impact, leading more

 adult studios to invest in better content, higher pay for performers, and to treat each

 performer with respect and like an artist.

        16.     Unfortunately, Strike 3, like a large number of other makers of motion

 picture and television works, has a major problem with Internet piracy. Often appearing

 among the most infringed popular entertainment content on torrent websites, Strike 3’s

 motion pictures are among the most pirated content in the world.

     Defendant Used the BitTorrent File Distribution Network to Infringe Plaintiff’s

                                         Copyrights

        17.     BitTorrent is a system designed to quickly distribute large files over the

 Internet. Instead of downloading a file, such as a movie, from a single source, BitTorrent

 users are able to connect to the computers of other BitTorrent users in order to

 simultaneously download and upload pieces of the file from and to other users.

        18.     To use BitTorrent to download a movie, the user has to obtain a “torrent”

 file for that movie, from a torrent website. The torrent file contains instructions for

 identifying the Internet addresses of other BitTorrent users who have the movie, and for



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 downloading the movie from those users. Once a user downloads all of the pieces of that

 movie from the other BitTorrent users, the movie is automatically reassembled into its

 original form, ready for playing.

          19.   BitTorrent’s popularity stems from the ability of users to directly interact

 with each other to distribute a large file without creating a heavy load on any individual

 source computer and/or network. It enables Plaintiff’s motion pictures, which are often

 filmed in state of the art 4kHD, to be transferred quickly and efficiently. Moreover,

 BitTorrent is designed so that the more files a user offers for download to others, the

 faster the user’s own downloads become. In this way, each user benefits from illegally

 distributing other’s content and violating copyright laws.

          20.   Each piece of a BitTorrent file is assigned a unique cryptographic hash

 value.

          21.   The cryptographic hash value of the piece (“piece hash”) acts as that

 piece’s unique digital fingerprint. Every digital file has one single possible cryptographic

 hash value correlating to it. The BitTorrent protocol utilizes cryptographic hash values to

 ensure each piece is properly routed amongst BitTorrent users as they engage in file

 sharing.

          22.   The entirety of the digital media file also has a unique cryptographic hash

 value (“file hash”), which acts as a digital fingerprint identifying the digital media file

 (e.g. a movie). Once infringers complete the downloading of all pieces which comprise a

 digital media file, the BitTorrent software uses the file hash to determine that the file is

 complete and accurate.



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        23.     Defendant used the BitTorrent file network to illegally download and

 distribute Plaintiff’s copyrighted motion pictures.

        24.     Plaintiff’s investigator, IPP International U.G. (“IPP”) established direct

 TCP/IP connections with the Defendant’s IP address, as outlined on Exhibit A, while

 Defendant was using the BitTorrent file distribution network.

        25.     While Defendant was infringing, IPP downloaded from Defendant one or

 more pieces of the digital media files containing Strike 3’s motion pictures listed on

 Exhibit A (“Works”).

        26.     A full copy of each digital media file was downloaded from the BitTorrent

 file distribution network, and it was confirmed through independent calculation that the

 file hash correlating to each file matched the file hash downloaded by Defendant.

        27.     Defendant downloaded, copied, and distributed a complete copy of

 Plaintiff’s Works without authorization.

        28.     At no point was Plaintiff’s copyrighted content uploaded by IPP to any

 BitTorrent user.

        29.     The digital media files have been verified to contain a digital copy of a

 motion picture that is identical (or alternatively, strikingly similar or substantially similar)

 to Plaintiff’s corresponding original copyrighted Works.

        30.     Defendant’s infringement is continuous and ongoing. Absent this lawsuit,

 Plaintiff knows of no way to effectively prevent Defendant from infringing Plaintiff’s

 motion pictures.

        31.     Plaintiff owns the copyrights to the Works and the Works have either been



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 registered with the United States Copyright Office or have pending copyright

 registrations. The United States Copyright Office registration information for the Works,

 including the registration number, is outlined on Exhibit A.

         32.     For Plaintiff’s Works that are still pending registration, a complete

 application, fees, and deposit materials for copyright registration have been received by

 the Copyright Office in compliance with the Copyright Act, 17 U.S.C. §§ 101, et seq.

 The application number is listed on Exhibit A.

         33.     Plaintiff is entitled to seek statutory damages and attorneys’ fees under 17

 U.S.C. § 501 of the United States Copyright Act.

                                          COUNT I

                              Direct Copyright Infringement

         34.     The allegations contained in paragraphs 1-33 are hereby re-alleged as if

 fully set forth herein.

         35.     Plaintiff is the owner of the Works, which is an original work of

 authorship.

         36.     Defendant copied and distributed the constituent elements of Plaintiff’s

 Works using the BitTorrent protocol.

         37.     At no point in time did Plaintiff authorize, permit or consent to

 Defendant’s distribution of its Works, expressly or otherwise.

         38.     As a result of the foregoing, Defendant violated Plaintiff’s exclusive right

 to:

         (A)     Reproduce its Works in copies, in violation of 17 U.S.C. §§ 106(1) and



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 501;

        (B)     Distribute copies of the Works to the public by sale or other transfer of

 ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and 501;

        (C)     Perform the copyrighted Works, in violation of 17 U.S.C. §§ 106(4) and

 501, by showing the Works’ images in any sequence and/or by making the sounds

 accompanying the Works’ audible and transmitting said performance of the work, by

 means of a device or process, to members of the public capable of receiving the display

 (as set forth in 17 U.S.C. § 101’s definitions of “perform” and “publically” perform); and

        (D)     Display the copyrighted Works, in violation of 17 U.S.C. §§ 106(5) and

 501, by showing individual images of the works non-sequentially and transmitting said

 display of the works by means of a device or process to members of the public capable of

 receiving the display (as set forth in 17 U.S.C. § 101’s definition of “publicly” display).

        39.     Defendant’s infringements were committed “willfully” within the meaning

 of 17 U.S.C. § 504(c)(2).

        WHEREFORE, Plaintiff respectfully requests that the Court:

        (A)     Permanently enjoin Defendant from continuing to infringe Plaintiff’s

 copyrighted Works;

        (B)     Order that Defendant delete and permanently remove the digital media

 files relating to Plaintiff’s Works from each of the computers under Defendant’s

 possession, custody or control;

        (C)     Order that Defendant delete and permanently remove the infringing copies

 of the Works Defendant has on computers under Defendant’s possession, custody or



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 control;

           (D)    Award Plaintiff statutory damages per infringed work pursuant to 17

 U.S.C. § 504(a) and (c);

           (E)    Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

 U.S.C. § 505; and

           (F)    Grant Plaintiff any other and further relief this Court deems just and

 proper.

                               DEMAND FOR A JURY TRIAL

           Plaintiff hereby demands a trial by jury on all issues so triable.

 Dated: March 11, 2019                                 Respectfully submitted,

                                                          GREENSPOON MARDER, LLP

                                                          /s/ Rachel E. Walker_____________
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